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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							January 10, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Gomes v. Hawaiian Electric Co. (Order of Correction).&nbsp;ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot, filed 12/06/2018 [ada]. Motion for Reconsideration, filed 12/17/2018.&nbsp;Motion for Reconsideration, filed 12/24/2018.&nbsp;ICA&nbsp;Order Denying December 17, 2018 HRAP Rule 40 Motion for Reconsideration of December 6, 2018 Order Dismissing Appeal for Lack of Appellate Jurisdiction and Denying December 24, 2018 Amended HRAP Rule 40 Motion for Reconsideration of December 6, 2018 Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 01/07/2018 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 9, 2019
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							LoPresti v. State (Amended Findings of Fact, Conclusions of Law and Judgment). S.Ct.&nbsp;Findings of Fact, Conclusions of Law and Judgment, filed 01/09/2019.

							Original Proceeding
							
						
												
							January 9, 2019
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							LoPresti v. State (Findings of Fact, Conclusions of Law and Judgment). S.Ct.&nbsp;Amended Findings of Fact, Conclusions of Law and Judgment, filed 01/09/2019 [ada].

							Original Proceeding
							
						
												
							January 8, 2019
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							City and County of Honolulu v. State (Order of Correction).&nbsp;Petition for Extraordinary Writ Seeking Pre-Election Relief, filed 09/26/2018. S.Ct. Order Dismissing Respondents Ronald D. Kouchi and Scott K. Saiki, in their Official Capacities, filed 10/19/2018 [ada].&nbsp;S.Ct.&nbsp;Order Regarding Petition for Extraordinary Writ Seeking Pre-Election Relief, filed 10/19/2018 [ada].&nbsp;S.Ct. Opinion, filed 12/20/2018 [ada].

							Original Proceeding
							
						
												
							January 7, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Gomes v. Hawaiian Electric Co. (Order Denying December 17, 2018 HRAP Rule 40 Motion for Reconsideration of December 6, 2018 Order Dismissing Appeal for Lack of Appellate Jurisdiction and Denying December 24, 2018 Amended HRAP Rule 40 Motion for Reconsideration of December 6, 2018 Order Dismissing Appeal for Lack of Appellate Jurisdiction). ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot, filed 12/06/2018 [ada]. Motion for Reconsideration, filed 12/17/2018.&nbsp;Motion for Reconsideration, filed 12/24/2018.&nbsp;ICA Order of Correction, filed 01/10/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							January 4, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Chang v. Bank of Hawaii (Order Approving Stipulation for Dismissal of Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							January 4, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ally Bank v. Hochroth (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							January 4, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Deleon (Order Granting Voluntary Dismissal of Appeal with Prejudice).

							District Court, 3rd Circuit, North and South Kona Division
							
						
												
							January 4, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Vazquez v. Kam (Order Approving the December 5, 2018 Stipulation for Dismissal of Appeal).

							Circuit Court, 1st Circuit
							
						
												
							January 4, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Correia (Order Approving Stipulation for Voluntary Dismissal of the Appeal).

							Circuit Court, 1st Circuit
							
						
												
							January 2, 2019
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Hampton (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							January 2, 2019
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Song (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							January 2, 2019
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Beaudet-Close (Order Dismissing Application for Writ of Certiorari). ICA s.d.o., filed 11/29/2018 [ada], 143 Haw. 331. Application for Writ of Certiorari, filed 12/21/2018.

							Circuit Court, 3rd Circuit
							
						
												
							January 2, 2019
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Garcia v. State (s.d.o., affirmed, vacated, and remanded). Consolidated with Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 2nd Circuit
							
						
											
				
			
			
		
		
				 

		 

			
		
	
		
			
				
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